     Case: 17-10447   Document: 00514444836   Page: 1     Date Filed: 04/25/2018

Case 3:15-cv-02528-G-BK Document 201 Filed 04/25/18     Page 1 of 1 PageID 4770



          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT
                           _______________________
                                                               United States Court of Appeals
                                                                        Fifth Circuit

                                No. 17-10447                          FILED
                           _______________________                 March 22, 2018
                        D.C. Docket No. 3:15-CV-2528               Lyle W. Cayce
                                                                        Clerk
BRIANNA PARKER,

            Plaintiff - Appellant
v.

BILL MELTON TRUCKING, INCORPORATED; FRANKIE THACKER, as
the Representative of the Estate of Charles Edward Thacker; TRIPLE E
BROKERAGE, INCORPORATED; DARR EQUIPMENT COMPANY,

            Defendants - Appellees

             Appeal from the United States District Court for the
                         Northern District of Texas

Before BARKSDALE, DENNIS, and ELROD, Circuit Judges.

                               JUDGMENT

     This cause was considered on the record on appeal and was argued by
counsel.

      It is ordered and adjudged that the judgment of the District Court is
affirmed.

      IT IS FURTHER ORDERED that plaintiff-appellant pay to defendants-
appellees the costs on appeal to be taxed by the Clerk of this Court.


JENNIFER WALKER ELROD, Circuit Judge, concurring.



                                                         Certified as a true copy and issued
                                                         as the mandate on Apr 25, 2018
                                                         Attest:
                                                         Clerk, U.S. Court of Appeals, Fifth Circuit
